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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

CHRISTIAN DIOR COUTURE, S.A.,                   )
                                                )      Case No. 17-cv-02630
                        Plaintiff,              )
                                                )      Judge Matthew F. Kennelly
       v.                                       )
                                                )      Magistrate Judge Young B. Kim
ZHAO FENG, et al.,                              )
                                                )
                        Defendants.             )
                                                )

                           PRELIMINARY INJUNCTION ORDER

       THIS CAUSE being before the Court on Plaintiff Christian Dior Couture, S.A.’s (“Dior”)

Motion for Entry of a Preliminary Injunction, and this Court having heard the evidence before it

hereby GRANTS Plaintiff’s Motion for Entry of a Preliminary Injunction in its entirety against

the defendants identified on Schedule A to the Amended Complaint and attached hereto

(collectively, the “Defendants”).

       THIS COURT HEREBY FINDS that it has personal jurisdiction over the Defendants

since the Defendants directly target their business activities toward consumers in the United

States, including Illinois. Specifically, Defendants are reaching out to do business with Illinois

residents by operating one or more commercial, interactive Internet stores through which Illinois

residents can purchase products using counterfeit versions of the CHRISTIAN DIOR

Trademarks (a list of which is included in the below chart).

REGISTRATION           REGISTERED              REGISTRATION              INTERNATIONAL
  NUMBER               TRADEMARK                  DATE                      CLASSES

543,994            CHRISTIAN DIOR           June 19, 1951          For: Handbags and
                                                                   pocketbooks in Class 018.




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954,404        CHRISTIAN DIOR       March 6, 1993        For: Eyeglass frames,
                                                         sunglasses and eyeglass cases
                                                         in Class 009.

1,123,944      CD                   August 14, 1979      For: Optical apparatus –
                                                         namely, eyeglass frames in
                                                         Class 009.

                                                         For: Jewelry and horological
                                                         instruments – namely,
                                                         women’s costume jewelry,
                                                         bracelets, and watches for
                                                         men and women in Class 014.

                                                         For: Articles made from
                                                         leather and imitations thereof,
                                                         namely, luggage for men and
                                                         women in Class 018.

                                                         For: Women’s blouses, skirts,
                                                         dresses, jackets, suits, coats;
                                                         Men’s suits, belts and sports
                                                         jackets in Class 025.

519,367        CHRISTIAN DIOR       December 27, 1949    For: Jewelry for personal
                                                         wear, not including watches-
                                                         namely, trinkets, necklaces,
                                                         bracelets, finger rings,
                                                         earrings, brooches, and
                                                         ornamental clips made in
                                                         whole of, in part of, or plated
                                                         with precious metals in class
                                                         014.

580,207        CHRISTIAN DIOR       September 22, 1953   For: Jewelry for personal
                                                         wear, not including watches-
                                                         namely, trinkets, necklaces,
                                                         bracelets, finger rings,
                                                         earrings, brooches, and
                                                         ornamental clips made in
                                                         whole of, in part of, or plated
                                                         with precious metals in class
                                                         014.




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1,776,536                           June 15, 1993      For: Carry-on bags; change
                                                       purses; clutch bags; clutch
                                                       purses; golf umbrellas;
                                                       handbags; luggage; passport
                                                       cases, holders or wallets;
                                                       pocketbooks; purses; shoulder
                                                       bags; all-purpose sports bags;
                                                       suitcases; tote bags; travel
                                                       bags; and wallets in Class
                                                       018.

                                                       For: Clothing for use by men,
                                                       women and children; namely,
                                                       blouses; gloves; vests in Class
                                                       025.

1,872,313                           January 10, 1995   For: Eyeglass frames; parts
                                                       thereof; and sunglasses in
                                                       Class 009.

                                                       For: Rings in Class 014.




1,923,564                           October 3, 1995    For: Belt buckles of precious
                                                       metals for clothing; brooches;
                                                       charms; costume jewelry; ear
                                                       clips; jewelry; jewelry lapel
                                                       pins; ornamental pins;
                                                       pendants; watch bands; watch
                                                       chains; watch fobs; and
                                                       watches in Class 014.

                                                       For: billfolds; business card
                                                       cases; carry-on bags; change
                                                       purses; clutch bags; clutch
                                                       purses; coin purses; credit
                                                       card cases; drawstring
                                                       pouches; handbags; key cases;
                                                       overnight bags; passport
                                                       cases, holders or wallets;
                                                       purses; shoulder bags; and
                                                       wallets in Class 018.




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3,561,323                           January 13, 2009   For: optical apparatus and
                                                       instruments, namely,
                                                       spectacles, sunglasses,
                                                       spectacle cases, and spectacle
                                                       frames in Class 009.

2,749,176                           August 12, 2003    For: Athletic bags; attache
                                                       cases; baby carriers worn on
                                                       the body; backpacks; beach
                                                       bags; beach umbrellas;
                                                       billfolds; book bags;
                                                       briefcase-type portfolios;
                                                       briefcases; business card
                                                       cases; carry-on bags; non-
                                                       motorized collapsible luggage
                                                       carts; change purses; clutch
                                                       bags; clutch purses; coin
                                                       purses; cosmetic cases sold
                                                       empty; credit card cases;
                                                       diaper bags; document cases;
                                                       drawstring pouches; duffel
                                                       bags; fanny packs; felt
                                                       pouches; garment bags for
                                                       travel; golf umbrellas; gym
                                                       bags; handbags; hat boxes for
                                                       travel; key cases; knapsacks;
                                                       luggage; overnight bags;
                                                       overnight cases; parasols;
                                                       passport cases, holders and
                                                       wallets; patio umbrellas;
                                                       pocketbooks; purses; satchels;
                                                       school bags; shoe bags for
                                                       travel; leather shopping bags;
                                                       mesh shopping bags; textile
                                                       shopping bags; shoulder bags;
                                                       all-purpose sports bags;
                                                       suitcases; toiletry cases sold
                                                       empty; tote bags; travel bags;
                                                       trunks for traveling;
                                                       umbrellas; valises; vanity
                                                       cases sold empty; waist packs;
                                                       wallets in Class 018.

                                                       For: Clothing for use by men,
                                                       women and children; namely,
                                                       anoraks; aprons; ascots;

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                                                                 babushkas; bandannas;
                                                                 bathing suits; bathrobes; belts;
                                                                 blazers; blouses; blousons;
                                                                 bodysuits; boleros; boots;
                                                                 boxer shorts; brassieres;
                                                                 briefs; baby buntings; caftans;
                                                                 camisoles; capes; caps;
                                                                 cardigans; chemises; clogs;
                                                                 cloth diapers; fur coats; suit
                                                                 coats; top coats; corselets;
                                                                 culottes; dresses; earmuffs;
                                                                 galoshes; garter belts; girdles;
                                                                 gloves; nightgowns; halter
                                                                 tops; hats; headbands;
                                                                 hosiery; jackets; jeans;
                                                                 jogging suits; jumpers;
                                                                 jumpsuits; kerchiefs;
                                                                 kimonos; leggings; leotards;
                                                                 loungewear; mittens;
                                                                 moccasins; mufflers;
                                                                 neckerchiefs; neckties;
                                                                 neckwear; negligees;
                                                                 nightshirts; overalls;
                                                                 overcoats; overshoes;
                                                                 pajamas; panties; pants;
                                                                 pantsuits; pantyhose; parkas;
                                                                 pedal pushers; peignoirs;
                                                                 pinafores; playsuits; pocket
                                                                 squares; ponchos; pullovers;
                                                                 raincoats; sandals; scarves;
                                                                 shawls; shirts; shorts;
                                                                 undershirts; shoes; sweat
                                                                 shorts; skirts; ski suits; slacks;
                                                                 snowsuits; socks; sport coats;
                                                                 sport shirts; stockings; stoles;
                                                                 suits; suspenders; sweat pants;
                                                                 sweatshirts; sweaters; t-shirts;
                                                                 trousers; tuxedos; underpants;
                                                                 vests; vested suits; and warm-
                                                                 up suits in Class 025.

       THIS COURT FURTHER FINDS that injunctive relief previously granted in the

Temporary Restraining Order (“TRO”) should remain in place through the pendency of this

litigation and that issuing this Preliminary Injunction is warranted under Federal Rule of Civil

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Procedure 65. Evidence submitted in support of this Motion and in support of Dior’s previously

granted Motion for Entry of a Temporary Restraining Order establishes that Dior has

demonstrated a likelihood of success on the merits; that no remedy at law exists; and that Dior

will suffer irreparable harm if the injunction is not granted. Specifically, Dior has proved a

prima facie case of trademark infringement because (1) the CHRISTIAN DIOR Trademarks are

distinctive marks and are registered with the U.S. Patent and Trademark Office on the Principal

Register, (2) Defendants are not licensed or authorized to use any of the CHRISTIAN DIOR

Trademarks, and (3) Defendants’ use of the CHRISTIAN DIOR Trademarks is causing a

likelihood of confusion as to the origin or sponsorship of Defendants’ products with Dior.

Furthermore, Defendants’ continued and unauthorized use of the CHRISTIAN DIOR

Trademarks irreparably harms Dior through diminished goodwill and brand confidence, damage

to Dior’s reputation, loss of exclusivity, and loss of future sales. Monetary damages fail to

address such damage and, therefore, Dior has an inadequate remedy at law. Moreover, the

public interest is served by entry of this Preliminary Injunction to dispel the public confusion

created by Defendants’ actions. As such, this Court orders that:

1.      Defendants, their affiliates, officers, agents, servants, employees, attorneys, confederates,

        and all persons acting for, with, by, through, under or in active concert with them be

        preliminarily enjoined and restrained from:

        a. using the CHRISTIAN DIOR Trademarks or any reproductions, counterfeit copies or

           colorable imitations thereof in any manner in connection with the distribution,

           marketing, advertising, offering for sale, or sale of any product that is not a genuine

           Dior product or not authorized by Dior to be sold in connection with the CHRISTIAN

           DIOR Trademarks;



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        b. passing off, inducing, or enabling others to sell or pass off any product as a genuine

           Dior product or any other product produced by Dior, that is not Dior’s or not

           produced under the authorization, control or supervision of Dior and approved by

           Dior for sale under the CHRISTIAN DIOR Trademarks;

        c. committing any acts calculated to cause consumers to believe that Defendants’

           products are those sold under the authorization, control or supervision of Dior, or are

           sponsored by, approved by, or otherwise connected with Dior;

        d. further infringing the CHRISTIAN DIOR Trademarks and damaging Dior’s

           goodwill; and

        e. manufacturing, shipping, delivering, holding for sale, transferring or otherwise

           moving, storing, distributing, returning, or otherwise disposing of, in any manner,

           products or inventory not manufactured by or for Dior, nor authorized by Dior to be

           sold or offered for sale, and which bear any of Dior’s trademarks, including the

           CHRISTIAN DIOR Trademarks, or any reproductions, counterfeit copies or

           colorable imitations thereof.

2.      The domain name registries for the Defendant Domain Names, including, but not limited

        to, VeriSign, Inc., Neustar, Inc., Afilias Limited, CentralNic, Nominet, and the Public

        Interest Registry, within three (3) business days of receipt of this Order, shall, at Dior’s

        choosing:

        a. unlock and change the registrar of record for the Defendant Domain Names to a

           registrar of Dior’s selection until further ordered by this Court; or

        b. disable the Defendant Domain Names and make them inactive and untransferable

           until further ordered by this Court.



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3.      The domain name registrars, including, but not limited to, GoDaddy Operating Company,

        LLC (“GoDaddy”), Name.com, PDR LTD. d/b/a PublicDomainRegistry.com (“PDR”),

        and Namecheap Inc. (“Namecheap”), within three (3) business days of receipt of this

        Order, shall take any steps necessary to transfer the Defendant Domain Names to a

        registrar account of Dior’s selection so that the Defendant Domain Names can be

        redirected or disabled until further ordered by this Court.

4.      Defendants and any third party with actual notice of this Order who is providing services

        for any of the Defendants, or in connection with any of Defendants’ websites at the

        Defendant Domain Names or other websites operated by Defendants, including, without

        limitation, any online marketplace platforms such as iOffer, eBay, AliExpress, and

        Alibaba, web hosts, sponsored search engine or ad-word providers, credit cards, banks,

        merchant account providers, third party processors and other payment processing service

        providers, Internet search engines such as Google, Bing, and Yahoo, and domain name

        registrars, including, but not limited to, GoDaddy, Name.com, PDR, and Namecheap,

        (collectively, the “Third Party Providers”) shall, within five (5) business days after

        receipt of such notice, provide to Dior expedited discovery, including copies of all

        documents and records in such person’s or entity’s possession or control relating to:

        a. the identities and locations of Defendants, their agents, servants, employees,

           confederates, attorneys, and any persons acting in concert or participation with them,

           including all known contact information, including any and all associated e-mail

           addresses;

        b. the nature of Defendants’ operations and all associated sales, methods of payment for

           services and financial information, including, without limitation, identifying



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           information associated with the Online Marketplace Accounts, the Defendant Domain

           Names, and Defendants’ financial accounts, as well as providing a full accounting of

           Defendants’ sales and listing history related to their respective Online Marketplace

           Accounts and Defendant Domain Names;

        c. Defendants’ websites and/or any Online Marketplace Accounts;

        d. the Defendant Domain Names or any domain name registered by Defendants; and

        e. any financial accounts owned or controlled by Defendants, including their agents,

           servants, employees, confederates, attorneys, and any persons acting in concert or

           participation with them, including such accounts residing with or under the control of

           any banks, savings and loan associations, payment processors or other financial

           institutions including, without limitation, PayPal, or other merchant account

           providers, payment providers, third party processors, and credit card associations

           (e.g., MasterCard and VISA).

5.      Upon Dior’s request, those in privity with Defendants and those with notice of the

        injunction, including the Third Party Providers as defined in Paragraph 4, shall, within

        five (5) business days after receipt of such notice:

        a. disable and cease providing services being used by Defendants, currently or in the

           future, to engage in the sale of goods using the CHRISTIAN DIOR Trademarks;

        b. disable and cease displaying any advertisements used by or associated with

           Defendants in connection with the sale of counterfeit and infringing goods using the

           CHRISTIAN DIOR Trademarks; and




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         c. take all steps necessary to prevent links to the Defendant Domain Names identified

            on Schedule A from displaying in search results, including, but not limited to,

            removing links to the Defendant Domain Names from any search index.

6.       Defendants and any persons in active concert or participation with them who have actual

         notice of this Order shall be temporarily and preliminarily restrained and enjoined from

         transferring or disposing of any money or other of Defendants’ assets until further

         ordered by this Court.

7.       PayPal, Inc. (“PayPal”) shall, within two (2) business days of receipt of this Order, for

         any Defendant or any of Defendants’ Online Marketplace Accounts or websites:

         a. locate all accounts and funds connected to Defendants, Defendants’ Online

            Marketplace Accounts or Defendants’ websites, including, but not limited to, any

            PayPal accounts connected to the information listed in Schedule A hereto, the e-mail

            addresses identified in Exhibits 4 and 5 to the Declaration of Jessica Matoua, and any

            e-mail addresses provided for Defendants by third parties; and

         b. restrain and enjoin any such accounts or funds that are not U.S. based from

            transferring or disposing of any money or other of Defendants’ assets until further

            ordered by this Court.

8.       Dior may provide notice of these proceedings to Defendants, including service of process

         pursuant to Fed. R. Civ. P. 4(f)(3), by electronically publishing a link to the Amended

         Complaint, this Order and other relevant documents on a website to which the Defendant

         Domain Names which are transferred to Dior’s control will redirect, or by sending an e-

         mail to the e-mail addresses identified in Exhibits 4 and 5 to the Declaration of Jessica

         Matoua and any e-mail addresses provided for Defendants by third parties that includes a



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         link to said website.    The Clerk of the Court is directed to issue a single original

         summons in the name of “Zhao Feng and all other Defendants identified in the Amended

         Complaint” that shall apply to all Defendants. The combination of providing notice via

         electronic publication or e-mail, along with any notice that Defendants receive from

         domain name registrars and payment processors, shall constitute notice reasonably

         calculated under all circumstances to apprise Defendants of the pendency of the action

         and afford them the opportunity to present their objections.

9.       Dior’s Amended Complaint [9] and Exhibit 1 thereto [9-1], Schedule A to the Complaint

         [8] and the Amended Complaint [9-2], Exhibits 4 and 5 to the Declaration of Jessica

         Matoua [14] and [15], and the TRO [24] are unsealed.

10.      Any Defendants that are subject to this Order may appear and move to dissolve or modify

         the Order on two days’ notice to Dior or on shorter notice as set by this Court.

11.      The $10,000 bond posted by Dior shall remain with the Court until a Final disposition of

         this case or until this Preliminary Injunction is terminated.

                                                IT IS SO ORDERED.

Dated: May 4, 2017




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                                        Schedule A
No.   Defendant Name / Alias                         No.   Defendant Name / Alias
  1   Zhao Feng                                        2   Zhao Feng (2)
  3   zhang zhang hui                                  4   yifilworld.com
  5   yanwu wu                                         6   Yanqing Ma
  7   Xiong Jin                                        8   XI ZHAO
  9   wuming li                                       10   wu junlong
 11   Woodbridge David                                12   Wises George
 13   William Walker                                  14   William Mclaughlan
 15   William Jackson                                 16   Wellington Ryan
 17   Wang Ganglei                                    18   Waite Charlie
 19   vincent wang                                    20   videldi.nl
 21   Tony Kelly                                      22   Tom Cruz
 23   Tim Daniels                                     24   talenting.nl
                                                         sunglasshutstore-sale-supply.com
 25 Susan Nijjar                                      26 sunglasshutstore-sale-supply.com
      sunglasshut-fashions-outlet-sale.com
 27   sunglasshut-fashions-outlet-sale.com            28   stopkinderporno.nl
 29   starthet.nl                                     30   Speirs Valerie
 31   sneaker-room.com                                32   Smyth Jordan
 33   smartpulsheeze.nl                               34   shoppingfromlocalsydney.info
 35   Scott Baniel                                    36   Scooptroop.ca
 37   Ruth Hardy                                      38   Richard Milligan
 39   Richard Hodgson                                 40   Ray Middleton
 41   qiu yanmin                                      42   Popbags.eu
 43   nasia roberts                                   44   Morgan Odom
 45   modoborse.com                                   46   minionwholesale.com
 47   maxjens.nl                                      48   maxdekdo.fr
 49   MARTIN HUANG                                    50   Marion Bowles
 51   Macarena Lorenzo Fernandez                      52   liying wu
 53   liu xuemei                                      54   liu jun
 55   Lisa Eldridge                                   56   Lindsay Constable
 57   Lin A San                                       58   Lily Pickering
 59   Li Hai Hong                                     60   Leonard Kinley
 61   Laurence Powell                                 62   kiddiecard.nl
 63   kerry Williams                                  64   justin gndo
 65   Jose Antonio Casas Royo                         66   John Watt

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 67   JinYing Chen                                   68   jiangli Chen
 69   Jessica Wilcox                                 70   Jessica bentel
 71   JERRY RIGBY                                    72   jeff chen
 73   Jayne Orton                                    74   Ingo Maier
 75   Indara Garoa Hernandez Crespo                  76   igojerseys.com
 77   huang xintao                                   78   Hosang Znge
 79   Holloway Agnieszka                             80   hofvantwentevitaal.nl
 81   han jiankang                                   82   gueijuan xu
 83   fv3633.com                                     84   futuracommerce.fr
 85   Frank McKeown                                  86   Frank Emmel
 87   found7a.com                                    88   ethan schaefer
 89   eemnesopgewektnaarnulopdemeter.nl              90   du kang
 91   dregen alexan                                  92   don trade
 93   dior-online-outlet.com                         94   denerdesign.nl
 95   Davies Paul                                    96   cuiccuic-bienetre.fr
 97   cmsca.net                                      98   clyde abreu
 99   Christopher Senyah                            100   Chrisoula Apokotou
101   chen peigen                                   102   chen guiying
103   Caroline Peak                                 104   carnetsduvin.fr
105   Bruce Craig                                   106   Brown Carol
107   brand7a.com                                   108   boutiquechrisjes.nl
109   Bernacchia Marion                             110   Benitez Luis
111   Benge Nicola                                  112   Bell Victoria
113   anne davis                                    114   Anita Wiley
115   Andrew Mirfin                                 116   Amy Simpson
117   amsterbaken.nl                                118   alfredas kundrotas
119   Alejandro Fernandez Rubio                     120   Alan Turnbull
121   Ai Ma                                         122   Aaronr Michelle
123   7803445                                       124   100% China Knight Bags
125   2013zhijian19840826                           126   A&H Jewelry Store
127   angeleshop                                    128   Blue Wind
129   free1957                                      130   goeasyshopping4ever
131   good585178_4                                  132   Haricy Store
133   inextstation-us                               134   kalkan_mall
135   Katrina's Fashion Store                       136   littlestarjewelry1983
137   lvyumin2013                                   138   mingrix
139   Newschool Store                               140   Pierpu
    Pujiang Yanjing Garment Accessories Co.,
141 Ltd.                                            142 SIS'ELYSEE Store
143 Sweet Sunmmer                                   144 WANMAO Store
145 weng_jie                                        146 Yiwu Daihe Jewelry Factory


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147 Yiwu Pinfirst Import & Export Firm



No.   Defendant Marketplace URL                      No.   Defendant Marketplace URL
  1   ebay.com/usr/7803445                             2   aliexpress.com/store/1758766
  3   ebay.com/usr/2013zhijian19840826                 4   aliexpress.com/store/327290
  5   ebay.com/usr/angeleshop                          6   aliexpress.com/store/227756
  7   ebay.com/usr/free1957                            8   ebay.com/usr/goeasyshopping4ever
  9   ebay.com/usr/good585178_4                       10   aliexpress.com/store/2657022
 11   ebay.com/usr/inextstation-us                    12   ebay.com/usr/kalkan_mall
 13   aliexpress.com/store/433616                     14   ebay.com/usr/littlestarjewelry1983
 15   ebay.com/usr/lvyumin2013                        16   ebay.com/usr/mingrix
 17   newshool.aliexpress.com/store/916297            18   dhgate.com/store/2047159
 19   yanjing.en.alibaba.com/productlist.html         20   aliexpress.com/store/2219167
 21   aliexpress.com/store/1872244                    22   aliexpress.com/store/2614038
 23   ebay.com/usr/weng_jie                           24   ywdaihe.en.alibaba.com
 25   pinfirst.en.alibaba.com



No.   Defendant Domain Name                          No.   Defendant Domain Name
  1   kristenkasperphotography.com                     2   yfhfoundation.com
  3   achatsacsfr.com                                  4   purchasesacs.com
  5   yifilworld.com                                   6   airmaxroom.com
  7   bluehazehuntclub.com                             8   mypartyheart.com
  9   octagonclub.co.uk                               10   alkaased.co.uk
 11   getmorelux.com                                  12   lovewushop.com
 13   saiki.co.uk                                     14   songsfromanarmchair.co.uk
 15   kingpackaging.co.uk                             16   recipestogo.com.co
 17   bolsosoutlet.win                                18   perfectharmonyht.co.uk
 19   parisvca.com                                    20   albannachbreedingandboarding.co.uk
 21   voguereplica.com                                22   videldi.nl
 23   airlie-health.co.uk                             24   forherorder.org
 25   brighttapestry.co.uk                            26   talenting.nl
 27   blastphoto.co.uk                                28   sunglasshutstore-sale-supply.com
 29   sunglasshut-fashions-outlet-sale.com            30   stopkinderporno.nl
 31   starthet.nl                                     32   btgraduates-apply.co.uk
 33   sneaker-room.com                                34   barkerandson.co.uk
 35   smartpulsheeze.nl                               36   shoppingfromlocalsydney.info
 37   oxjamrodley.co.uk                               38   scooptroop.ca
 39   gazunder.co.uk                                  40   homecraftservices.co.uk
 41   bracknellservicedapartment.co.uk                42   peterbtaylor.co.uk


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 43   wikihandbag.com                            44   popbags.eu
 45   outbreakdjs.co.uk                          46   bethelmission.org
 47   modoborse.com                              48   minionwholesale.com
 49   maxjens.nl                                 50   maxdekdo.fr
 51   efashionapparel.com                        52   emohair.org.uk
 53   ernestomassimosossi.it                     54   schoenenpark.com
 55   shoes-room.info                            56   shpephoenix.org
 57   a1breastcancertips.com                     58   mynameisturok.co.uk
 59   hunterandco.co.uk                          60   oolithpress.co.uk
 61   find-brand.com                             62   peterkalu.co.uk
 63   myrichbd.info                              64   smartparkandfly.co.uk
 65   jrweddings.co.uk                           66   kiddiecard.nl
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